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 4   Attorney for Defendant
     FRANK ALIOTO
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                     ) No. CR-S-11-190 MCE
 9                                                 )
                                                   )
10          Plaintiff,                             ) STIPULATION AND ORDER EXTENDING
                                                   ) TIME TO POST POST PROPERTY BOND
11   v.                                            )
                                                   )
12                                                 )
     FRANK ALIOTO,
                                                   )
13                                                 )
            Defendant.                             )
14                                                 )
                                                   )
15                                                 )
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17
            On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
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     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
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     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks. On May 23, 2012 a stipulation and proposed order was filed and approved to extend the
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     due date of the filing to May 30, 2012.
22
            The Surety has provided the bond documents, and counsel has provided the documents to
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     the Government. The Government needs additional time to review the documents received from
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     the defense. Additionally, once the documents are approved the defense will need time to have
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     the deed recorded and file the bond.
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 1          Accordingly the parties agree the deadline for posting the property bond may be extended
 2   to June13, 2012. This office has contacted Jason Hitt of the U.S. Attorney’s Office, and he has
 3   no objection to this request.
 4

 5   Dated: May 31, 2012                                 /s/ John R. Manning
                                                         JOHN R. MANNING
 6                                                       Attorney for Defendant
                                                         Frank Alioto
 7

 8

 9   Dated: May 31, 2012                                 Benjamin B. Wagner
10
                                                         United States Attorney

11
                                                         by: /s/
12                                                       JASON HITT
13
                                                         Assistant United States Attorney

14
            For good cause appearing, the due date for posting of a secured property bond in this
15
     matter shall be continued to June 13, 2012.
16
     SO ORDERED.
17
     Dated: June 1, 2012.
18
                                                         __________________________________
19                                                       EDMUND F. BRENNAN
                                                         United States Magistrate Judge
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